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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                NORTHERN DIVISION


SINCLAIR, INC.                               :
                      Plaintiff,             :
                                             :
       V.                                    : CASE NO. ________________
                                             :
                                             :
CONTINENTAL CASUALTY                         :
COMPANY                                      :
                                             :
                and                          :
                                             :
STARR INDEMNITY & LIABILITY                  :
COMPANY                                      :
                                             :
                      Defendants.            :


                                    NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §1441 and 28 U.S.C. §1446,

Defendant, Continental Casualty Company (“CCC”), by and through its attorneys, Kennedys

CMK LLP, hereby files and serves this Notice of Removal. In support thereof, CCC states as

follows:

                  BACKGROUND AND PROCEDURAL REQUIREMENTS

               On September 13, 2024, Plaintiff, Sinclair, Inc. (“Plaintiff”), filed a Complaint in

this matter in the Circuit Court for Baltimore County, Maryland, styled as Sinclair Inc., v.

Continental Casualty Company and Starr Indemnity & Liability Company, No. 03-CV-24-003438

(“State Court Action”). A true and correct copy of Plaintiff’s Complaint in the State Court Action

is attached hereto as Exhibit “A.” A copy of the other documents filed in the State Court Action
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is attached as Exhibit “B.” A copy of the docket of the State Court Action as of October 16, 2024

is attached as Exhibit “C.”

                            REMOVAL IS TIMELY AND PROPER

                CCC was served with Plaintiff’s Complaint on September 17, 2024.

                This Notice of Removal is timely filed because it has been filed within the 30-day

time period required by 28 U.S.C. § 1446(b).

                The removal of this action to this Court is proper because this Court has subject

matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 inasmuch as there is complete

diversity of citizenship between Plaintiff, Defendant CCC, and Defendant Starr Indemnity &

Liability Company (“Starr”), and the amount in controversy exceeds $75,000.00, exclusive of

interest, attorneys’ fees, and costs.

    THERE IS COMPLETE DIVERSITY OF CITIZENSHIP BETWEEN THE PARTIES

                For a corporate defendant, citizenship is set forth in 28 U.S.C. § 1332(c)(1), i.e., its

place of incorporation and its principal place of business.

                Plaintiff, Sinclair, Inc. is incorporated in Maryland and its principal place of

business is also located in Maryland. See Ex. A ¶9; 28 U.S.C. § 1332(a). Thus, for purposes of

diversity of citizenship, Plaintiff is a citizen of the State of Maryland.

                Defendant, Continental Casualty Company, is incorporated in Illinois and its

principal place of business is also located in Illinois. See Ex. A ¶10. Therefore, CCC is a citizen

of Illinois for purposes of determining diversity of citizenship with the meaning of 28 U.S.C.

§ 1332.

                Defendant, Starr Indemnity & Liability Company is incorporated in Texas and its

principal place of business is in New York. See Ex. A ¶11. Therefore, Starr is a citizen of Texas


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and New York for purposes of determining diversity of citizenship with the meaning of 28 U.S.C.

§ 1332.

               Complete diversity of citizenship as between Plaintiff and Defendants CCC and

Starr therefore exists because Plaintiff, CCC and Starr are citizens of different states pursuant to

28 U.S.C. § 1332.

             THE THRESHOLD AMOUNT IN CONTROVERSY REQUIREMENT
                               IS SATISFIED

               The preponderance of the evidence establishes that the amount in controversy in

this action exceeds the sum or value of $75,000.00, exclusive of interest, attorneys’ fees, and costs.

               Plaintiff’s Complaint alleges that Defendants are contractually obligated to

indemnify Sinclair, Inc., for its lost Business Income and Extra Expense as a result of an October

17, 2021 cyber-attack in excess of $70,000,000.00 in damages, exclusive of interest, fees and costs.

See Ex. A ¶¶22, 38.

               Accordingly, the amount in controversy in this matter exceeds the sum or value of

$75,000.00, exclusive of interest, attorneys’ fees, and costs.

                                                 VENUE

               Venue is proper in this district pursuant to 28 U.S.C. § 1441(a) because the state

court where the action has been pending is located in this district.

                                        REMOVAL IS PROPER

               Removal of this matter from Maryland state court to this court is proper because

complete diversity of citizenship between the parties exists and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs.




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               Concurrent with the filing and serving of this Notice of Removal, CCC shall cause

a copy of this Notice to be filed with the Circuit Court for Baltimore County, Maryland in

compliance with 28 U.S.C. § 1446(d).

               Notwithstanding this removal, CCC does not waive and specifically reserves any

and all objections, exceptions, or defenses to this action, including but not limited to, moving to

have this matter dismissed, stayed and/or transferred to another court. CCC further reserves the

right to amend or supplement this Notice of Removal.

               Copies of all process, pleadings, and orders served upon Defendants as of the time

of this removal are attached hereto in accordance with 28 U.S.C. § 1446(a).

                                    CONSENT TO REMOVAL

               Attorneys for the only other Defendant, Starr, have consented to the removal of this

matter to this Court via email dated October 14, 2024. A copy of Starr’s written consent to removal

e-mail is attached hereto as Exhibit “D.”

       WHEREFORE, based on the foregoing, Defendant, Continental Casualty Company,

hereby removes this action from the Circuit Court for Baltimore County, Maryland, to the United

States District Court for the District of Maryland, Northern Division.

Dated: October 16, 2024.


                                      Respectfully Submitted,

                                      KENNEDYS CMK LLP

                                      By:     /s/ Matthew C. Nelson
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                           and

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                           Attorneys for Defendant
                           Continental Casualty Company




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                               CERTIFICATE OF SERVICE

       I hereby certify that true and correct copies of the foregoing Notice of Removal and the

exhibits attached thereto were served via email and U.S. Mail, postage prepaid, upon all counsel

of record identified below in accordance with the Federal Rules of Civil Procedure on this 16th

day of October, 2024:

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                                                      /s/ Matthew C. Nelson
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